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 8                      UNITED STATES DISTRICT COURT
 9                   SOUTHERN DISTRICT OF CALIFORNIA
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11   FUTUREWEI TECHNOLOGIES, INC.,           Case No. 23-CV-0117-BTM-BLM
     a Texas corporation,
12
                                            ORDER GRANTING JOINT
13                     Plaintiff,           MOTION TO DISMISS ACTION
                                            WITH PREJUDICE
14         v.
15   ZOVIO INC., a Delaware corporation,
16
                       Defendant.
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                                                               23-CV-0117-BTM-BLM
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 1         On June 9, 2023, the parties filed a joint motion to dismiss this action
 2    pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). ECF No. 15.
 3          Upon due consideration, and good cause appearing, the Court GRANTS the
 4    joint motion and DISMISSES WITH PREJUDICE this action. Each party must
 5    bear its own costs and attorneys’ fees. The Clerk of Court is instructed to
 6    terminate all pending motions and deadlines and close the case.
 7
 8          IT IS SO ORDERED.
 9
10           June 9, 2023
      Dated: ______________
11                                          ___________________________
                                            HON. BARRY TED MOSKOWITZ
12
                                            UNITED STATES DISTRICT COURT
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